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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

ROBERT CARLSON, Personal Representative             )
of the Estate of Craig Carlson,                     )
                             Plaintiff,             )
                                                    )       No. 1:08-cv-991
-v-                                                 )
                                                    )       Honorable Paul L. Maloney
GRAND TRAVERSE COUNTY,                              )
                    Defendant.                      )
                                                    )

       ORDER DENYING MOTION FOR APPROVAL OF WRONGFUL DEATH
               SETTLEMENT AND DISTRIBUTION OF FUNDS

         Plaintiff Robert Carlson filed a motion for approval of the settlement in this lawsuit

and for the distribution of funds. (ECF No. 429.) Because the settlement did not involve a

claim for wrongful death, the motion is DENIED.

         Craig Carlson was shot and killed by a member of a law enforcement team. When

this lawsuit was filed, one of Plaintiff's claims was for excessive force, which resulted in Craig

Carlson's death. That claim went to trial, and the jury found no cause of action. Plaintiff

appealed both summary judgment decisions and decisions made at trial, and succeeded in

part. The Sixth Circuit reversed this Court's resolution of several search and seizure claims

that occurred before the tragic shooting. The excessive force claim that was resolved at trial,

however, was not reversed.

         On remand, the Court first had to resolve disputes between the parties about the

scope of the remaining claims. (ECF No. 385.) Craig Carlson's death was not an issue that

remained in the lawsuit. On the eve of trial, Plaintiff accepted Defendant's offer to settle the
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remaining claims. Plaintiff is correct that Michigan's Wrongful Death Act requires a court

to hold a hearing for the approval of any settlement and for distribution of the settlement

funds. But, the Act does not apply to this settlement. Subsection 5 of the Act states that "for

the purpose of settling a claim for damages for wrongful death where an action for those

damages is pending," and where the personal representative files a motion "asking leave of

the court to settle the claim," the court shall hold a hearing. Mich. Comp. Law § 600.2922(5)

(emphasis added). Plaintiff had no pending claim for wrongful death and the parties did not

settle a claim for wrongful death. Therefore, the Court need not hold a hearing to approve

the settlement.

       IT IS SO ORDERED.

Date: September 7, 2018                                    /s/ Paul L. Maloney
                                                          Paul L. Maloney
                                                          United States District Judge




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